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            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                     PINE BLUFF DIVISION

DAMONT EWELLS
ADC #109853                                                   PLAINTIFF

v.                     No. 5:19-cv-316-DPM-JTR

RORY GRIFFIN, Deputy Director, Health and
Correctional Services, Varner Supermax, ADC;
SONDRA PARKER, Health Services Administrator,
Nurse Supervisor, Varner Supermax; ESTELLA
BLAND, Health Services Provider, Nurse Practitioner,
Varner Unit, ADC; DENISE POWELL, Nurse, ADC;
KAYLA HARGRAVE, Nurse, ADC;
WITHERSPOON, Nurse                                DEFENDANTS

                                 ORDER
      The Court adopts Magistrate Judge Ray's unopposed partial
recommendation, Doc. 38.        FED.   R. CIV. P. 72(b) (1983 addition to
advisory committee notes).      Griffin's motion to dismiss, Doc. 7, is
denied.
     So Ordered.

                                                   (/
                                   D .P. Marshall Jr.
                                   United States District Judge
